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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                           FILED

                             EASTERN DISTRICT OF VIRGINIA                                       ? I

                                        Norfolk Division                          CLERK, U.S. DISTRICT COURT
                                                                                         NORFOLK. VA

UNITED STATES OF AMERICA


                                                    Criminal No. 2:19-cr- //3

BRIA SHAWNA BLOUNT,                         )       18 U.S.C.§§ 924(a)(1)(A)
          Defendant.                        )       False Statement to Federally Licensed
                                                    Firearms Dealer
                                                    (Count 1)

                                                     18 U.S.C.§ 924(d)
                                                     Criminal Forfeiture


                                 CRIMINAL INFORMATION


THE UNITED STATES ATTORNEY CHARGES THAT:

                                         COUNT ONE


       On or about February 17, 2018, at Norfolk, Virginia, in the Eastern District of Virginia,

and elsewhere, the defendant, BRIA SHAWNA BLOUNT,in connection with the purchase of a

firearm, knowingly made a false statement and representation to Liberty Manufacturing Group, a

person licensed under the provisions of Chapter 44 of Title 18, United States Code, with respect

to information required to be kept in the records of Liberty Manufacturing Group, in that the

defendant did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and

Explosives Form 4473, Firearms Transaction Record, to the effect that she was the actual

transferee/buyer ofthe firearm, when in truth and in fact, she was not.

       (In violation of Title 18, United States Code, Sections 924(a)(1)(A).)



                                   CRIMINAL FORFEITURE


       As part ofthe sentencing of the defendant, upon proper findings, BRIA SHAWNA
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BLOUNT,the defendant herein, if convicted of any ofthe violation alleged in Count One of the

Information, shall forfeit to the United States:

       a. Any and all property constituting, or derived from, any proceeds the defendant

obtained, directly or indirectly, as the result ofsuch violation; and

       b. Any ofthe defendant's property used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission ofsuch violation; and

       c. Any firearm involved in or used in any knowing violation of Title 18, United States

Code Section 924; and

       d. Any other property ofthe defendant up to the value ofthe property subject to

forfeiture above, if any property subject to forfeiture above,(a)cannot be located upon the

exercise of due diligence,(b) has been transferred to, sold to, or deposited with a third person,(c)

has been placed beyond the jurisdiction ofthe Court,(d)has been substantially diminished in

value, or(e) has been commingled with other property that cannot be divided without difficulty.

       The aforementioned property includes, but is not limited to the following property:

Glock Model 26 9mm semi-automatic pistol, serial #BELK754.

                      (In violation of Title 18, United States Code, Sections 924(d).)

                                       G.ZACHARY TERWILLIGER
                                       UNITED STATES ATTORNEY



                               By:
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